                                                         Case 8:15-cv-02034-JVS-JCG Document 1065 Filed 11/03/20 Page 1 of 2 Page ID
                                                                                         #:72124


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                                                           9                       UNITED STATES DISTRICT COURT
                                                          10                     CENTRAL DISTRICT OF CALIFORNIA
                                                          11                                  SOUTHERN DIVISION
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   NATURAL IMMUNOGENICS                  CASE NO. 8:15-cv-02034-JVS-JCG
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707




                                                               CORP., a Florida corporation,         JAMS NO. 1220055347
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                                                                                 Plaintiff,          DEFENDANT NEWPORT TRIAL GROUP’S
                                                          14                                         NOTICE OF LODGING OF PRIVILEGED
                                                                     v.                              DOCUMENTS LISTED IN DOCKET 823-3
                                                          15                                         FOR IN CAMERA REVIEW BY THE
                                                               NEWPORT TRIAL GROUP, et al.,          SPECIAL MASTER
                                                          16
                                                                                 Defendants.
                                                          17                                         Judge: Hon. James V. Selna
                                                                                                     Special Master: Hon. Andrew J. Guilford
                                                          18   AND ALL RELATED ACTIONS               (Ret.)
                                                          19                                         Complaint Filed: December 7, 2015
                                                                                                     Trial Date:      March 23, 2021
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                                                                  NOTICE OF LODGING PRIVILEGED DOCUMENTS LISTED IN DOCKET 823-3 FOR
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                                                                                         #:72125


                                                           1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                                                           2          PLEASE TAKE NOTICE that pursuant to the request of the Special Master, on

                                                           3   November 3, 2020, Defendant Newport Trial Group (“NTG”) provided the Special Master with a

                                                           4   ShareFile link containing the privileged documents listed in Docket 823-3. These documents

                                                           5   relate to the Court’s Orders at Docket 820 and 1049, as well as NIC’s filings at Docket 823 and

                                                           6   823-3 and NTG’s responses and objections at Docket 836, and were thus provided to the Special

                                                           7   Master for in camera review in accordance with those orders and filings.

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                                                           9   Dated: November 3, 2020                    CALLAHAN & BLAINE, APLC
                                                          10
                                                                                                          By:     /s/ David J. Darnell
                                                          11                                                    Edward Susolik
                                                                                                                David J. Darnell
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                                                          12                                                    James M. Sabovich
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                                                          13                                                    Counterclaimants NEWPORT TRIAL
                                                                                                                GROUP and SCOTT J. FERRELL
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                                                                   NOTICE OF LODGING PRIVILEGED DOCUMENTS LISTED IN DOCKET 823-3 FOR
                                                                                            IN CAMERA REVIEW
